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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

Kurd, et al.,                                        )
                                                     )
                Plaintiffs,                          ) Civil Action No. 1:18-cv-1117-CKK
                                                     )
v.                                                   )
                                                     )
The Republic of Turkey, et al.,                      )
                                                     )
                Defendants.                          )
                                                     )

  PLAINTIFFS’ MOTION TO REFER THEIR MOTION FOR DEFAULT JUDGMENT
   AGAINST DEFNEDANT REPUBLIC OF TURKEY [DKT. 241] TO MAGISTRATE
                         JUDGE SHARBAUGH

        Plaintiffs respectfully request pursuant to 28 U.S.C § 636(b) and Local Rule 72.3(a) that

the Court refer Plaintiffs’ Motion for Default Judgment Against Defendant Republic of Turkey,

Dkt. 241, to Magistrate Judge Sharbaugh, to whom the Court has already referred a parallel

motion filed in Usoyan v. Republic of Turkey, No 1:18-cv-1141-CKK.

        Plaintiffs filed this action on May 11, 2018, against the Republic of Turkey (“Turkey”)

and five civilian defendant for an attack the defendants and their agents perpetrated against

Plaintiffs during a peaceful protest in outside the Turkish Ambassador’s Residence in

Washington, D.C., on May 16, 2017. On May 15, 2018, four additional plaintiffs filed a separate

action against the Republic of Turkey arising out of the same May 16, 2017, attack, which was

docketed as Usoyan v. Republic of Turkey, No 1:18-cv-1141-CKK. Turkey moved to dismiss

both complaints on sovereign immunity grounds, and this Court issued identical opinions in each

case denying Turkey’s motions. See Kurd v. Republic of Turkey, 438 F. Supp. 3d 69 (D.D.C.

2020); Usoyan v. Republic of Turkey, 438 F. Supp. 3d 1 (D.D.C. 2020). Turkey appealed the

Court’s rulings in both cases, and the D.C. Circuit ordered the cases consolidated on appeal and



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then affirmed this Court’s rulings. See Order, Usoyan v. Republic of Turkey, No 20-7017 (D.C.

Cir. June 2, 2020); Usoyan v. Republic of Turkey, 6 F.4th 31 (D.C. Cir. 2021).

       Following remand, Turkey announced that it would no longer participate in either case.

Kurd Dkt. 165; Usoyan Dkt. 114. Plaintiffs in both cases filed affidavits of default (Kurd Dkt.

170; Usoyan Dkt. 118), and the clerk entered default against Turkey in both cases (Kurd Dkt.

173; Usoyan Dkt. 120). Pursuant to schedules set by the Court in each case, the Usoyan Plaintiffs

then filed a motion for default judgment as to Turkey’s liability on April 21, 2023, and Plaintiffs

in this case filed a motion for default judgment as to Turkey’s liability on September 29, 2023.

Kurd Dkt. 241; Usoyan Dkt. 127.

       On December 4, 2024, the Court ordered the Usoyan Plaintiffs’ motion for default

judgment be referred to a magistrate judge to prepare a Report and Recommendations proposing

findings of fact and conclusions of law, and the motion was assigned to Magistrate Judge

Sharbaugh on January 31, 2025. No action has been taken on the Kurd Plaintiffs’ motion for

default judgment.

       Plaintiffs respectfully request that the Court refer their motion for default judgment

against Turkey to Magistrate Judge Sharbaugh so that he may consider it alongside their Usoyan

Plaintiffs’ motion. Enabling Magistrate Judge Sharbaugh to consider these motions together

would promote judicial efficiency and reduce the risk of conflicting judgments. The motions in

both cases significantly overlap both factually and legally. Moreover, joint consideration of the

Kurd and Usoyan motions for default would comport with past practice in this litigation: the

Court considered Turkey’s motions to dismiss in both cases together, issuing simultaneous and

identical opinions, and the D.C. Circuit considered them together on a consolidated appeal.




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       The Court has the authority to refer the Kurd Plaintiffs’ motion for default pursuant to 28

U.S.C. § 636(b)(1)(B) and Local Civil Rule 72.3, which both empower the district court judge to

designate a magistrate judge to issue proposed findings of fact and recommendations for the

disposition of dispositive motions.

       Although this motion does not implicate the non-defaulting defendants, Plaintiffs have

met and conferred with them out of an abundance of caution, and the non-defaulting defendants

have informed Plaintiffs that they oppose Plaintiffs’ motion.

       Plaintiffs respectfully request the Court grant their motion.




 Dated: February 12, 2025                            Respectfully submitted,

                                                     By: /s/Agnieszka M. Fryszman
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